      Case 1:19-cv-03363-ALC-DCF Document 24 Filed 10/09/20 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MARKY’S MARTIAL ARTS, INC., d/b/a
 KILLEARN LAKES TAEKWONDO,
                                                          19cv03363 (ALC) (DF)
                               Plaintiff,                 ORDER
                -against-

 FC ONLINE MARKETING, INC., d/b/a
 FCOM,

                               Defendant.

DEBRA FREEMAN, United States Magistrate Judge:

       After this matter was referred to this Court for a damages inquest (Dkt. 20), this Court, on

February 28, 2020, issued a Scheduling Order (Dkt. 21), requiring Plaintiff to submit Proposed

Findings of Fact and Conclusions of Law by March 30, 2020, and instructing Plaintiff that those

Proposed Findings “should specifically tie the proposed damages figure(s) to the legal claim(s)

on which liability has now been established; should demonstrate how Plaintiff has arrived at the

proposed damages figure(s); and should be supported by a sworn affidavit, or a declaration under

penalty of perjury, that attaches as exhibits and contains an explanation of any documentary

evidence that helps establish the proposed damages” (id. ¶ 2).

       On March 30, 2020, Plaintiff filed a so-called “Notice Re: Compliance With Order

Dated” [sic] (Dkt. 23), which states the following: “Pursuant to this Court’s February 28, 2020

Order, Plaintiff is submitting a Proposed Order for default judgment along with affidavits and

exhibits to prove Plaintiff’s damages” (see id.). With that Notice, however, Plaintiff submitted

only a single Declaration (see Declaration of Blaine Marky in Support of Motion for Default
        Case 1:19-cv-03363-ALC-DCF Document 24 Filed 10/09/20 Page 2 of 3




Judgment, dated Oct. 29, 2019 (Dkt. 22)), 1 and, although that Declaration (which is from one of

Plaintiff’s principals) does include proposed damages amounts and explains the methodology of

certain damages calculations, Plaintiff attached no exhibits or referenced any documentary

evidence whatsoever to support any of the figures provided. In addition, the Declaration vaguely

refers to additional damages that were purportedly being set forth in “companion briefing” (see

id. ¶ 17) and in “companion Motions” (see id. ¶ 20), but no “companion” papers were submitted.

Plaintiff also failed to file proof that it had served its submissions on Defendant. (See generally

Dkt.)

        On September 18, 2020, my Chambers reached out to Plaintiff’s counsel to inquire about

the seemingly missing submissions and the need for Plaintiff to file proof of service. Although

counsel has twice informed Chambers that Plaintiff would be supplementing its filings, it has not

done so to date.

        Accordingly, it is hereby ORDERED as follows:

        1.     No later than October 23, 2020, Plaintiff shall supplement its inquest submissions

with the documentation and other information required by the Court’s February 28, 2020 Order,

and shall also file proof that it has served Defendant with copies of (1) the Court’s

February 28, 2020 Order; (2) Plaintiff’s initial filings in response to that Order; (3) this Order;

and (4) Plaintiff’s supplemental submission in response to this Order. Plaintiff is cautioned that,

if it fails to supplement its submissions as required by this Order, and thereby fails to provide

adequate support for its requested damages, then this Court may recommend that Plaintiff not be

awarded some or all of the damages it is seeking based on Defendant’s default.


        1
         Although titled a “Declaration” and stated to have been made under penalty of perjury,
this document could also be characterized as an affidavit, as it was additionally sworn before a
notary public. (See id.)

                                                  2
      Case 1:19-cv-03363-ALC-DCF Document 24 Filed 10/09/20 Page 3 of 3




       2.      If Defendant wishes to respond to Plaintiff’s submissions, it should do so, through

counsel (see Dkt. 21 ¶ 4), no later than November 13, 2020. If Defendant fails to submit a timely

response, then this Court will issue a Report and Recommendation regarding damages based on

Plaintiff’s submissions alone. This Court will also not hold a hearing on damages unless

Defendant requests a hearing, in writing, by November 13, 2020.

Dated: New York, New York
       October 9, 2020

                                                    SO ORDERED


                                                    ________________________________
                                                    DEBRA FREEMAN
                                                    United States District Judge

Copy to:

Plaintiff’s counsel (via ECF)




                                                3
